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                                        17                      UNITED STATES DISTRICT COURT
                                        18                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                 2:23-cv-6193
                                        19 A LONG STORY SHORT, LLC                    Case No.
                                        20                    Plaintiff,              COMPLAINT FOR:
                                                                                      1. FEDERAL UNFAIR
                                        21        v.                                     COMPETITION AND FALSE
                                        22 NFP CORP.                                     DESIGNATION OF ORIGIN (15
                                                                                         U.S.C. §1125(a))
                                        23                                            2. COMMON LAW TRADEMARK
                                                              Defendant.                 INFRINGEMENT UNDER
                                        24                                               CALIFORNIA LAW
                                        25                                            3. UNFAIR COMPETITION (Cal.
                                                                                         Bus. & Prof. Code §17200 et seq.)
                                        26
                                                                                      JURY TRIAL DEMANDED
                                        27
                                        28

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                                         1         Plaintiff, A LONG STORY SHORT, LLC d/b/a Ground Control (A Long
                                         2 Story Short, LLC, together with its predecessors-in-interest and affiliates,
                                         3 hereinafter “Plaintiff”), for its Complaint against Defendant NFP CORP.,
                                         4 (“Defendant”), respectfully states as follows:
                                         5                                NATURE OF THE SUIT
                                         6         1.    This is an action for false designation of origin and unfair competition
                                         7 under the Lanham Act, 15 U.S.C. § 1125(a), trademark infringement under
                                         8 California State common law, and unfair competition under California State
                                         9 statutory law. Plaintiff seeks an injunction prohibiting Defendant from using in
                                        10 commerce Plaintiff’s GROUND CONTROLTM Mark (as defined below). In
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                                        11 addition, Plaintiff seeks compensatory damages, treble damages, Defendant’s profits
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                                        12 from the violations alleged, and Plaintiff’s costs and attorneys’ fees incurred in
                                        13 bringing this action.
                                        14                                     THE PARTIES
                                        15         2.    Plaintiff is a California limited liability company with a principal place
                                        16 of business at 925 N. La Brea Avenue, 4th Floor, Los Angeles, CA 90038.
                                        17         3.    Upon information and belief, Defendant is a Delaware corporation with
                                        18 a principal place of business at 340 Madison Avenue, 20th Floor, New York, NY
                                        19 10173 and may be served with process on its Registered Agent The Corporation
                                        20 Trust Company, 1209 Orange Street, Wilmington, DE 19801.
                                        21                            JURISDICTION AND VENUE
                                        22         4.    This Court has original jurisdiction over this dispute pursuant to 15
                                        23 U.S.C. 1121, and 28 U.S.C. §§ 1331, 1332, 1338, and 1367.
                                        24         5.    This is an action for trademark infringement, unfair competition and
                                        25 false designation of origin in violation of Section 43(a) of the Lanham Act, 15
                                        26 U.S.C. § 1125(a), and violations of California statutory and common law, including
                                        27 provisions of the California Business and Professions Code and California common
                                        28 law trademark infringement.
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                                         1          6.    Defendant is subject to personal jurisdiction in California due at least to
                                         2 maintaining a place of business in this state, as well as its substantial ongoing
                                         3 business activities in this state and Judicial District, including regularly doing or
                                         4 soliciting business, engaging in other persistent courses of conduct, and/or deriving
                                         5 substantial revenue from goods and services provided to persons or entities in
                                         6 California and this Judicial District.
                                         7          7.    Venue is proper in this District under 28 U.S.C. § 1391(b) because (i) a
                                         8 substantial portion of the events giving rise to this action occurred in this judicial
                                         9 district; and/or (ii) Defendant does business, may be found, and is subject to
                                        10 personal jurisdiction in this judicial district.
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                                        11                         FACTS COMMON TO ALL COUNTS
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                                        12                               Plaintiff’s Trademark Rights
                                        13          8.    Plaintiff is the owner of all right, title, and interest in and to the
                                        14 trademark or service mark GROUND CONTROLTM and variations thereof (the
                                        15 “GROUND CONTROLTM Mark”) for use in connection with a range of financial
                                        16 and accounting services. Under its GROUND CONTROLTM Mark, Plaintiff
                                        17 provides, inter alia, accounting and bookkeeping services; payroll, accounts payable
                                        18 and accounts receivable administration; financial reporting, modeling, budgeting
                                        19 and analysis; tax services; strategic planning and business advisory services;
                                        20 business process improvement and systems development; and various publications
                                        21 and educational resources related to the foregoing.
                                        22          9.    Plaintiff markets and provides its services under the GROUND
                                        23 CONTROLTM Mark to a wide range of businesses and professionals, in the Los
                                        24 Angeles area and across the United States.
                                        25        10.     Plaintiff has consistently and continuously used the GROUND
                                        26 CONTROLTM Mark in connection with its services rendered in California since at
                                        27 least as early as September 3, 2017.
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                                         1        11.    Plaintiff has consistently and continuously used the GROUND
                                         2 CONTROLTM Mark in connection with its services rendered in interstate commerce
                                         3 since at least as early as February 20, 2020.
                                         4        12.    Plaintiff is the owner of U.S. Trademark Application No. 98002803 for
                                         5 its GROUND CONTROLTM Mark, for use in connection with “Accounting services;
                                         6 bookkeeping services; accounts receivable billing services, invoicing services,
                                         7 accounts payable services, and payroll services; tax preparation services; business
                                         8 valuation services; business strategy and consulting services, namely, the design and
                                         9 implementation of systems, templates and automations to streamline business
                                        10 workflows; business strategy and consulting services, namely, financial forecasting,
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                                        11 analysis and planning; business strategy and consulting services, namely, growth
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                                        12 strategy; tax filing services” in Class 35, “Financial planning and analysis, namely,
                                        13 creation, maintenance and analysis of key performance indicator (KPI) dashboards,
                                        14 cash flow forecasts, and creation and maintenance of spreadsheets for tracking
                                        15 financial information; debt advisory services” in Class 36, and “Non-downloadable
                                        16 digital publications, namely, newsletters and blogs; educational services, namely,
                                        17 conducting online workshops in the fields of accounting, tax, bookkeeping, finance,
                                        18 general business strategy, and entrepreneurship; entertainment services, namely,
                                        19 providing podcasts in the fields of accounting, tax, bookkeeping, finance, general
                                        20 business strategy, and entrepreneurship; educational services, namely, conducting
                                        21 online and offline classes, courses, webinars, seminars, conferences, social
                                        22 entertainment events, bootcamps, and workshops in the fields of accounting, tax,
                                        23 bookkeeping, finance, general business strategy, and entrepreneurship” in Class 41.
                                        24        13.    Plaintiff has invested substantial resources building a strong reputation,
                                        25 goodwill, and loyal consumer following in connection with its valuable GROUND
                                        26 CONTROLTM Mark. By virtue of such use in intrastate commerce since at least as
                                        27 early as 2017 and in U.S. commerce since at least as early as 2020, Plaintiff has
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                                         1 developed substantial goodwill and common law rights in and to the GROUND
                                         2 CONTROLTM Mark.
                                         3        14.    Plaintiff is based in the Los Angeles area, and serves clients in various
                                         4 states across the United States and abroad.
                                         5        15.    Plaintiff is the indisputable senior user of the GROUND CONTROLTM
                                         6 Mark and has a significant and established priority over any rights that Defendant
                                         7 may allege in or to GROUND CONTROL and/or confusingly similar variations
                                         8 thereof.
                                         9        16.    Plaintiff has expended, and continues to expend, a substantial amount
                                        10 of resources, money, time and effort promoting, marketing, advertising, and
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                                        11 building consumer recognition and goodwill in the valuable and well-known
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                                        12 GROUND CONTROLTM Mark, including in this Judicial District.
                                        13        17.    As a result of Plaintiff’s continuous and substantially exclusive use of
                                        14 the GROUND CONTROLTM Mark in connection with financial and accounting
                                        15 services, the relevant consumers have come to strongly associate Plaintiff as the
                                        16 source or origin of the GROUND CONTROLTM Mark and the services offered in
                                        17 connection therewith. The GROUND CONTROLTM Mark is valuable and has
                                        18 developed a substantial amount of goodwill.
                                        19            Defendant’s Infringement of the GROUND CONTROLTM Mark
                                        20        18.    On information and belief, on or about April 7, 2022, Defendant NFP
                                        21 Corp. filed with the USPTO U.S. Trademark Application No. 97351527 for the
                                        22 alleged mark GROUND CONTROL (“Defendant’s Application”) for use in
                                        23 connection with “Tax advisory and business management services for entertainment
                                        24 industry executives, entertainers, real estate developers, professional athletes, and
                                        25 other professionals; accounting services; tax preparation and filing strategy
                                        26 services” in Class 35 and “Financial advisory services; bill payment services;
                                        27 financial advisory services relating to insurance, benefits, retirement, and wealth
                                        28 management” in Class 36.
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                                         1         19.    Defendant’s Application was based on NFP Corp.’s intent to use the
                                         2 applied-for mark in U.S. commerce.
                                         3         20.    Plaintiff sent NFP Corp. a letter on May 25, 2023, formally putting it
                                         4 on notice that its use of Plaintiff’s GROUND CONTROLTM Mark in connection
                                         5 with the provision of accounting, bookkeeping, and financial planning and advisory
                                         6 services in competition with Plaintiff would and/or does infringe upon Plaintiff’s
                                         7 trademark rights. See Exhibit A.
                                         8         21.    As such, Defendant has had actual notice of Plaintiff’s rights in, to, and
                                         9 under the GROUND CONTROLTM Mark since at least May 25, 2023, the date of
                                        10 Plaintiff’s first cease and desist letter.
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                                        11         22.    On information and belief, Defendant adopted and began using the
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                                        12 name or mark GROUND CONTROL in commerce in or about September 2022.
                                        13         23.    On information and belief, Defendant currently advertises, offers,
                                        14 and/or provides, inter alia, accounting and bookkeeping services; payroll
                                        15 administration; financial reporting, forecasting, budgeting and analysis; tax services;
                                        16 strategic planning; and business management services, all under and in connection
                                        17 with the name or mark GROUND CONTROL and/or GROUND CONTROL
                                        18 BUSINESS MANAGEMENT.
                                        19         24.    On information and belief, Defendant provides its services, inter alia,
                                        20 via a location at 2049 Century Park E, Ste. 1400, Los Angeles, CA 90067.
                                        21         25.    Defendant owns and/or operates the website at https://gcbm.com,
                                        22 where it advertises, markets and offers its services under the name or mark
                                        23 GROUND CONTROL.
                                        24         26.    Defendant’s accounting and bookkeeping services; payroll
                                        25 administration; financial reporting, forecasting, budgeting and analysis; tax services;
                                        26 strategic planning; and business management services are in direct competition with,
                                        27 and/or are identical or highly related to Plaintiff’s accounting and bookkeeping
                                        28 services; payroll, accounts payable and accounts receivable administration; financial
                                                                                           5
                                                                                        COMPLAINT
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                                         1 reporting, modeling, budgeting and analysis; tax services; strategic planning and
                                         2 business advisory services; business process improvement and systems
                                         3 development; and various publications and educational resources related to the
                                         4 foregoing.
                                         5        27.    Such competing services are customarily offered through similar
                                         6 channels of trade, to similar classes of consumers, and under circumstances that are
                                         7 likely to cause confusion between Plaintiff and its GROUND CONTROLTM Mark,
                                         8 services and business, and Defendant’s use of GROUND CONTROL, services and
                                         9 business.
                                        10        28.    Defendant’s GROUND CONTROL name or mark is identical and/or
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                                        11 highly similar to Plaintiff’s GROUND CONTROLTM Mark in sight, sound, and
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                                        12 commercial impression.
                                        13        29.    Defendant’s GROUND CONTROL BUSINESS MANAGEMENT
                                        14 name or mark is identical and/or highly similar to Plaintiff’s GROUND
                                        15 CONTROLTM Mark in sight, sound, and commercial impression.
                                        16        30.    The “BUSINESS MANAGEMENT” portion of Defendant’s name or
                                        17 mark is merely descriptive or generic in connection with Defendant’s business
                                        18 management services, and its addition fails to distinguish Plaintiff’s GROUND
                                        19 CONTROLTM Mark.
                                        20        31.    Defendant’s use of GROUND CONTROL and variations thereof in
                                        21 connection with its above-referenced accounting and financial services has confused
                                        22 and misled consumers, and is likely to continue confusing and misleading
                                        23 consumers into believing that the services offered by the Defendant are approved,
                                        24 provided, endorsed, or sponsored by Plaintiff, which they are not.
                                        25        32.    Plaintiff has encountered instances of actual confusion with Defendant
                                        26 in the marketplace.
                                        27        33.    Defendant has no association, affiliation, sponsorship, or any other
                                        28 connection with Plaintiff.
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                                         1        34.    Defendant’s use of GROUND CONTROL and variations thereof has
                                         2 caused and is likely to continue to cause consumers and/or the relevant public to be
                                         3 confused into believing that Plaintiff (a) is itself offering the services and/or goods
                                         4 being advertised, marketed, promoted, offered, and provided by Defendant; (b) is
                                         5 affiliated, connected, or otherwise associated with Defendant and/or Defendant’s
                                         6 advertising, marketing, promotion, offer, and/or provision of services and/or goods;
                                         7 and/or (c) is sponsoring, endorsing, administering, supervising, or is otherwise
                                         8 connected with the Defendant and/or Defendant’s advertising, marketing,
                                         9 promotion, offer, and/or provision of services and/or goods.
                                        10        35.    Defendant will continue to use, cause confusion, and wrongfully
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                                        11 benefit and gain from its infringing use of Plaintiff’s GROUND CONTROLTM Mark
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                                        12 and/or confusingly similar variations thereof unless enjoined by this Court.
                                        13        36.    By virtue of Plaintiff’s cease and desist letter, Defendant had actual
                                        14 knowledge of Plaintiff’s rights in, to, and under the GROUND CONTROLTM Mark
                                        15 since at least Plaintiff’s first notice to Defendant on May 25, 2023. Nevertheless,
                                        16 Defendant elected to intentionally and willfully continue providing its services
                                        17 under the infringing GROUND CONTROL and GROUND CONTROL BUSINESS
                                        18 MANAGEMENT names, wrongfully causing confusion and profiting from
                                        19 Plaintiff’s goodwill in and to its highly valuable and well known mark and name.
                                        20                                         COUNT I
                                        21      (Federal Unfair Competition and False Designation of Origin – 15 U.S.C.
                                        22                                         §1125(a))
                                        23        37.    Plaintiff repeats and incorporates by reference the allegations set forth
                                        24 in Paragraphs 1-36.
                                        25        38.    Plaintiff is the exclusive owner of all right, title, and interest in and to
                                        26 the GROUND CONTROLTM Mark in connection with, inter alia, accounting and
                                        27 bookkeeping services; payroll, accounts payable and accounts receivable
                                        28 administration; financial reporting, modeling, budgeting and analysis; tax services;
                                                                                        7
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                                         1 strategic planning and business advisory services; business process improvement
                                         2 and systems development; and various publications and educational resources
                                         3 related to the foregoing.
                                         4        39.     Plaintiff is the indisputable senior user of the GROUND CONTROLTM
                                         5 Mark and used the GROUND CONTROLTM Mark and/or variations thereof in
                                         6 intrastate commerce since at least as early as 2017, and in U.S. commerce since at
                                         7 least as early as 2020, long prior to any use of GROUND CONTROL by Defendant.
                                         8        40.     Defendant’s unlicensed, unconsented to, and otherwise unauthorized
                                         9 use of Plaintiff’s GROUND CONTROLTM Mark and/or confusingly similar
                                        10 reproductions, counterfeits, copies, or colorable imitations thereof, on or in
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                                        11 connection with its sale, offering for sale, distribution, or advertising of its
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                                        12 accounting and bookkeeping services; payroll administration; financial reporting,
                                        13 forecasting, budgeting and analysis; tax services; strategic planning; and business
                                        14 management services is likely to cause confusion, or to cause mistake, or to deceive
                                        15 consumers and the relevant public into falsely believing that Defendant is affiliated,
                                        16 connected, or associated with Plaintiff and/or its GROUND CONTROLTM Mark.
                                        17        41.     Defendant’s use of GROUND CONTROL and variations thereof as
                                        18 described herein is likely to cause confusion, or to cause mistake, or to deceive as to
                                        19 the affiliation, connection, or association of Defendant with Plaintiff, or as to the
                                        20 origin, sponsorship, or approval of Defendant’s goods, services, or commercial
                                        21 activities by Plaintiff.
                                        22        42.     Defendant has thus committed and is continuing to commit acts of
                                        23 trademark infringement, unfair competition and/or false designation of origin in
                                        24 interstate commerce in violation of, inter alia, Section 43(a) of the Lanham Act, 15
                                        25 U.S.C. §1125(a).
                                        26        43.     Defendant’s acts of trademark infringement, unfair competition and/or
                                        27 false designation of origin have caused and will continue to cause damage and
                                        28 irreparable harm to Plaintiff, and are likely to continue unabated, thereby causing
                                                                                        8
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                                         1 further damage and irreparable harm to Plaintiff and to the valuable goodwill
                                         2 symbolized by and associated with its distinctive and established GROUND
                                         3 CONTROLTM Mark, unless enjoined and restrained by this Court.
                                         4        44.    Plaintiff has no adequate remedy at law and will suffer irreparable
                                         5 injury if Defendant is allowed to continue to wrongfully use Plaintiff’s GROUND
                                         6 CONTROLTM Mark and/or any confusingly similar variations thereof.
                                         7        45.    Defendant’s trademark infringement, unfair competition and/or false
                                         8 designation of origin are and were knowing and willful, and Plaintiff is entitled to
                                         9 recover damages, including treble damages and reasonable attorneys’ fees.
                                        10        46.    As a result of Defendant’s activities, Plaintiff has been damaged in an
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                                        11 amount to be ascertained at trial.
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                                        12                                        COUNT II
                                        13          (Common Law Trademark Infringement under California Law)
                                        14        47.    Plaintiff repeats and incorporates by reference the allegations set forth
                                        15 in Paragraphs 1-46.
                                        16        48.    Plaintiff is the exclusive owner of all right, title, and interest in and to
                                        17 the GROUND CONTROLTM Mark in connection with, inter alia, accounting and
                                        18 bookkeeping services; payroll, accounts payable and accounts receivable
                                        19 administration; financial reporting, modeling, budgeting and analysis; tax services;
                                        20 strategic planning and business advisory services; business process improvement
                                        21 and systems development; and various publications and educational resources
                                        22 related to the foregoing.
                                        23        49.    Plaintiff is the indisputable senior user of the GROUND CONTROLTM
                                        24 Mark and used the GROUND CONTROLTM Mark and/or variations thereof in
                                        25 intrastate commerce since at least as early as 2017, and in U.S. commerce since at
                                        26 least as early as 2020, long prior to any use of GROUND CONTROL by Defendant.
                                        27        50.    Defendant’s unlicensed, unconsented to, and otherwise unauthorized
                                        28 use of Plaintiff’s GROUND CONTROLTM Mark and/or confusingly similar
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                                                                                    COMPLAINT
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                                         1 reproductions, counterfeits, copies, or colorable imitations thereof, on or in
                                         2 connection with its sale, offering for sale, distribution, or advertising of its
                                         3 accounting and bookkeeping services; payroll administration; financial reporting,
                                         4 forecasting, budgeting and analysis; tax services; strategic planning; and business
                                         5 management services is likely to cause confusion, or to cause mistake, or to deceive
                                         6 consumers and the relevant public into falsely believing that Defendant is affiliated,
                                         7 connected, or associated with Plaintiff and/or the GROUND CONTROLTM Mark.
                                         8        51.     Defendant’s use of the Ground Control Business Management Mark as
                                         9 described herein is likely to cause confusion, or to cause mistake, or to deceive as to
                                        10 the affiliation, connection, or association of Defendant with Plaintiff, or as to the
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                                        11 origin, sponsorship, or approval of Defendant’s goods, services, or commercial
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                                        12 activities by Plaintiff.
                                        13        52.     Defendant has thus committed and is continuing to commit acts of
                                        14 trademark infringement in violation of, inter alia, California common law.
                                        15        53.     Defendant’s acts of infringement have caused and will continue to
                                        16 cause damage and irreparable harm to Plaintiff, and are likely to continue unabated,
                                        17 thereby causing further damage and irreparable harm to Plaintiff and to the valuable
                                        18 goodwill symbolized by and associated with Plaintiff’s distinctive and established
                                        19 GROUND CONTROLTM Mark, unless enjoined and restrained by this Court.
                                        20        54.     Plaintiff has no adequate remedy at law and will suffer irreparable
                                        21 injury if Defendant is allowed to continue to wrongfully use Plaintiff’s GROUND
                                        22 CONTROLTM Mark and/or any confusingly similar variations thereof.
                                        23        55.     As a result of Defendant’s activities, Plaintiff has been damaged in an
                                        24 amount to be ascertained at trial.
                                        25                                        COUNT III
                                        26          (Unfair Competition under Cal. Bus. & Prof. Code §17200 et seq.)
                                        27        56.     Plaintiff repeats and incorporates by reference the allegations set forth
                                        28 in Paragraphs 1-55.
                                                                                        10
                                                                                    COMPLAINT
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                                         1        57.     Plaintiff is the exclusive owner of all right, title, and interest in and to
                                         2 the GROUND CONTROLTM Mark in connection with, inter alia, accounting and
                                         3 bookkeeping services; payroll, accounts payable and accounts receivable
                                         4 administration; financial reporting, modeling, budgeting and analysis; tax services;
                                         5 strategic planning and business advisory services; business process improvement
                                         6 and systems development; and various publications and educational resources
                                         7 related to the foregoing.
                                         8        58.     Plaintiff is the indisputable senior user of the GROUND CONTROLTM
                                         9 Mark and used the GROUND CONTROLTM Mark and/or variations thereof in
                                        10 commerce since at least as early as 2020, long prior to any use of GROUND
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                                        11 CONTROL by Defendant.
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                                        12        59.     Plaintiff has continuously used its GROUND CONTROLTM Mark since
                                        13 at least as early as 2017.
                                        14        60.     Defendant’s unlicensed, unconsented to, and otherwise unauthorized
                                        15 use of Plaintiff’s GROUND CONTROLTM Mark and/or confusingly similar
                                        16 reproductions, counterfeits, copies, or colorable imitations thereof, on or in
                                        17 connection with its sale, offering for sale, distribution, or advertising of its
                                        18 accounting and bookkeeping services; payroll administration; financial reporting,
                                        19 forecasting, budgeting and analysis; tax services; strategic planning; and business
                                        20 management services is likely to cause mistake, or to deceive consumers and the
                                        21 relevant public into falsely believing that Defendant is affiliated, connected, or
                                        22 associated with Plaintiff and/or the GROUND CONTROLTM Mark.
                                        23        61.     The acts of Defendant as described above constitute unfair competition
                                        24 in violation of Cal. Bus. & Prof. Code § 17200 et seq.
                                        25        62.     Defendant’s acts of unfair competition have caused and will continue to
                                        26 cause Plaintiff to suffer injury in fact, to lose money or property, and to suffer
                                        27 irreparable harm, and such acts are likely to continue unabated, thereby causing
                                        28 further injury, loss, and irreparable harm to Plaintiff and to the valuable goodwill
                                                                                         11
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                                         1 symbolized by and associated with Plaintiff’s distinctive and established GROUND
                                         2 CONTROLTM Mark, unless enjoined and restrained by this Court.
                                         3       63.    Plaintiff has no adequate remedy at law and will suffer irreparable
                                         4 injury if Defendant is allowed to continue to wrongfully use Plaintiff’s GROUND
                                         5 CONTROLTM Mark and/or any confusingly similar variations thereof.
                                         6                              PRAYER FOR RELIEF
                                         7        WHEREFORE, Plaintiff, A LONG STORY SHORT, LLC, respectfully
                                         8 requests that this Court enter judgment against Defendant, NFP CORP., as follows:
                                         9        A.    That this Court enter a judgment finding that Defendant has infringed
                                        10              Plaintiff’s GROUND CONTROLTM Mark;
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                                        11        B.    That this Court enter a judgment finding that Defendant has willfully
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                                        12              infringed Plaintiff’s GROUND CONTROLTM Mark;
                                        13        C.    That this Court enter a judgment finding that Defendant has committed
                                        14              unfair   competition    by   willfully   using   Plaintiff’s   GROUND
                                        15              CONTROLTM Mark and/or confusingly similar variations thereof;
                                        16        D.    That this Court preliminarily and permanently enjoin Defendant and its
                                        17              officers, directors, agents, servants, employees, and any and all persons
                                        18              in concert or privity with any of them, from using GROUND CONTROL
                                        19              and/or any confusingly similar variations thereof, in any manner or form,
                                        20              or any other reproduction, counterfeit, color, or colorable imitation of
                                        21              such marks, either alone or in combination with any other designation,
                                        22              on or in connection with any advertising, marketing, promoting, offer for
                                        23              sale, distribution, or sale of Defendant’s goods or services; from
                                        24              otherwise infringing Plaintiff’s GROUND CONTROLTM Mark; and
                                        25              from otherwise competing unfairly with Plaintiff;
                                        26        E.    That this Court order Defendant to destroy and/or obliterate any and all
                                        27              signs, brochures, advertisements, stationery, leaflets, labels, and other
                                        28              items in its possession, custody, or control, upon which appear or reflect
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                                                                                 COMPLAINT
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                                         1             the GROUND CONTROL name or mark, and/or any confusingly similar
                                         2             variations thereof, in any manner or form, or any other reproduction,
                                         3             counterfeit, copy, or colorable imitation of Plaintiff’s GROUND
                                         4             CONTROLTM Mark;
                                         5       F.    That this Court order Defendant to pay to Plaintiff such damages as
                                         6             Plaintiff has actually sustained:
                                         7             a.    in consequence of Defendant’s infringement of and upon
                                         8                   Plaintiff’s GROUND CONTROLTM Mark;
                                         9             b.    in consequence of Defendant’s false designation of origin;
                                        10             c.    in consequence of Defendant’s actions of unfair competition;
THREE EMBARCADERO CENTER, 7TH FLOOR




                                        11       G.    That this Court order Defendant to account for and pay to Plaintiff all
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                                        12             profits realized by Defendant from its infringement of or upon Plaintiff’s
                                        13             GROUND CONTROLTM Mark, its false designation of origin, and its
                                        14             acts of unfair competition;
                                        15       H.    That this Court order Defendant to cease further infringing the
                                        16             GROUND CONTROLTM Mark and damaging Plaintiff’s goodwill;
                                        17       I.    That this Court find that the circumstances and actions of Defendant’s
                                        18             conduct was willful and sufficient to merit an award of exemplary
                                        19             damages to Plaintiff in the amount of three times the amount found as
                                        20             actual damages;
                                        21       J.    That this Court order Defendant to pay Plaintiff its costs and expenses
                                        22             incurred in and related to this action;
                                        23       K.    That this Court order Defendant to pay Plaintiff’s attorneys’ fees;
                                        24       L.    That this Court order Defendant to pay Plaintiff’s prejudgment interest;
                                        25       M.    That this Court award Plaintiff exemplary and punitive damages under
                                        26             California law for Defendant’s willful, intentional, and/or tortious acts;
                                        27             and
                                        28       N.    That this Court award such other and further relief as this Court deems
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                                         1               just and proper under the circumstances.
                                         2                            DEMAND FOR JURY TRIAL
                                         3        Plaintiff hereby respectfully requests a trial by jury on all issues in this action
                                         4 so triable by right pursuant to Rule 38 of the Federal Rules of Civil Procedure.
                                         5
                                         6 Dated: July 31, 2023                  BRYAN CAVE LEIGHTON PAISNER LLP
                                         7
                                         8                                       By: /s/ Keith Klein
                                         9                                               Keith Klein
                                                                                   Attorneys for Plaintiff
                                        10                                         A Long Story Short, LLC
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